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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                              BILLINGS DIVISION


GALILEA, LLC ARIA TAUNIA                         Case No. CV-18-131-BLG-SPW
KITTLER,
                                                JUDGMENT IN A CIVIL CASE
                      Plaintiff,

vs.

PANTAENIUS AMERICAN
LIMITED, ANDREA M.
GIACOMAZZA, AGCS MARINE
INSURANCE COMPANY,
LIBERTY MUTUAL
INSURANCE COMPANY, AND
TORUS INSURANCE
COMPANY,
             Defendants.


       Jury Verdict. This action came before the Court for a trial by jury. The
issues have been tried and the jury has rendered its verdict.

 X    Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

        JUDGMENT IN FAVOR OF DEFENDANTS AGAINST PLAINTIFFS
      (ORDERED that the Insurer Defendants' Motion for Summary Judgment (Doc. 51) and
              Pantaenius' Motion for Summary Judgment (Doc. 52) be GRANTED)

        Dated this 1st day of June, 2021.

                                   TYLER P. GILMAN, CLERK

                                   By: /s/ A. Carrillo
                                   A. Carrillo, Deputy Clerk
